Case 2:05-cv-02438-.]DB-dkv Document 12 Filed 07/11/05 Page 1 of 2 Page|D 1

lN THE UNITED sTATES DIsTRICT COURT F“»ED BY % D""
FOR THE WESTERN DISTRICT oF TENNESSEE

 

    

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MICHAEL GREEN, WJD O;; 1 ;¢§.ji_qp;»;g
ANTONIUS HART,
CEDRIC MORRIS, and
CEDRIC CAUSEY,
Plaintiffs,
V. NO. 05-2438 BV
UNION PLANTERS BANK
NATIONAL ASSOCIATION, d/b/a
UNION PLANTERS BANK.,
Defendant.

 

ORDER GRANTING MOTION FOR ADDITIONAL TIME
TO RESPOND TO PLAIN'I`IFFS' FOURTH REQUEST FOR ADMISSIONS

 

This cause came before the Court upon the l\/Ioti.on of Defendant Union P]anters Bank,
Nationa] Association for additional time to respond to Plaintiffs' Fourth Request for Admissions
propounded in this matter prior to the removal of this action to federal court, and it appearing to the
Court that the Defendant has shown good cause for extending the time to and until ten (l()) days
following entry of an Order on Plaintiffs' l\/Iotion for Remand.

IT IS THEREFORE ORDERED AND AD.IUDGED that Defendant Union Planters Bank,
National Association shall to and until ten (10) days following entry of an Order by the Cour‘t on

Plaintiffs‘ Motion to Remand to respond to the Plaintiffs' Fourth Request for Admissions.

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Date:

 

 

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UNITED`ATE DsTRCIIT COURT - WESTE

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This notice confirms a copy of the document docketed as number 12 in
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Michael C. Skouteris
SKOUTERIS LAW FIRM
50 N. Front Street

Ste 1 190

l\/lemphis7 TN 38103

Mark Allen

Provost & Umphrey LaW Firm, LLP
200 .1 efferson Avenue

Suite 250

l\/lemphis7 TN 38103

Prince C. Chambliss

STOKES BARTHOLOl\/[EW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

l\/lemphis7 TN 38120

Dale H. Tuttle

GLASSMAN .TETER EDWARD & WADE
26 N. Second Street

l\/lemphis7 TN 38103

Trey Jordan
McDonald Kuhn7 P.C.
119 S. Main Street
Suite 400

l\/lemphis7 TN 38103

Scott A. Frick

STOKES BARTHOLOl\/[EW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

l\/lemphis7 TN 38120

Honorable .1. Breen
US DISTRICT COURT

